        Case 6:23-cv-00013 Document 63 Filed on 07/28/23 in TXSD Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    VICTORIA DIVISION

STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                                       No. 6:23-cv-13
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES, et al.,
   Defendants.

                         UNOPPOSED MOTION OF PLAINTIFF STATE OF TEXAS
                                 FOR WITHDRAWAL OF COUNSEL

         Plaintiff State of Texas file this file this Unopposed Motion to Withdraw Leif A. Olson as

  their attorney in this matter.

         Leif A. Olson has accepted a position outside the Office of the Attorney General of

  Texas, and Defendant Walter Wendler respectfully request that he be withdrawn as their

  counsel. They will continue to be represented by co-counsel listed below, with Charles K. Eldred

  as lead counsel. This withdrawal will not delay any proceedings. This motion is unopposed.

  Dated July 28, 2023.                            Respectfully submitted.




                                                 1
     Case 6:23-cv-00013 Document 63 Filed on 07/28/23 in TXSD Page 2 of 2




ANGELA COLMENERO                                /S/ LEIF A. OLSON
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                                CERTIFICATE OF CONFERENCE

      I hereby certify that on July 28, 2023, I conferred with all counsel by email, and none were
opposed to this motion.
                                             /s/ Leif A. Olson
                                             Leif A. Olson

                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on July 28, 2023, and that all counsel of record were served by CM/ECF.

                                             /s/ Leif A. Olson
                                             Leif A. Olson




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